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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

BRANDON DAVIS,

       Plaintiff,
                                                  No. 1:23-cv-00576-JMB-RSK
v.
                                                  HON. JANE M. BECKERING
RYAN COX,

       Defendant.


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Rod M. Johnston (P80337)                          Luanne Laemmerman (P64588)
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                                                                              /

           DEFENDANT’S MOTION FOR STAY OF PROCEEDINGS

      Defendant Ryan Cox, by counsel, moves under Fed. R. Civ. P. 7(b) and Local

Rule 7.1 to stay proceedings in this matter pending the outcome of an active

criminal investigation into the incident that gave rise to this lawsuit. This motion

is based on those rules and the other grounds set forth in Defendant Cox’s

accompanying brief.

      Counsel for the Defendant emailed Plaintiff’s counsel on November 7, 2023 to

ascertain whether Plaintiff would oppose the motion and the relief sought. No
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response was given. Previously, on October 18, 2023, counsel for the Defendant and

counsel for the Plaintiff conferred by telephone and discussed the fact that

Defendant intended to seek a stay of proceedings, and counsel for the Plaintiff

indicated that the Plaintiff would oppose such a request.

        As set forth in the accompanying brief, Defendant Cox respectfully requests a

reasonable stay of proceedings in this matter pending the conclusion of the active

criminal investigation.

                                                            Respectfully submitted,


                                                            /s/ Daniel P. Bock
                                                            Daniel P. Bock (P71246)
                                                            Luanne Laemmerman (P64588)
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Dated: November 8, 2023
LF: Davis, Brandon (v Cox) (DNR) USDC-WD/AG #2023-0379956-A/Motion for Stay 2023-11-08




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